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             Exhibit 36
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              STATE OF NEW YORK                  )
                                                 )
                                                 )       ss
              COUNTY OF NEW YORK                 )




                                              CERTIFICATION



      This is to certify that the attached translation is, to the best of my knowledge and belief, a true

      and accurate translation from Spanish into English of the attached document with Bates Nos.

      LATINFOODHD_FRONTEO40211—LATINFOODHD_FRONTEO40215.




                                                              Lionbridge




                       259 W 30th Street, 11th Floor New York, NY 10001 +1.212.631.7432
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From:                 Gloria E. Moreno <gloria@allgoodservices.org>
Sent:                 Thursday, August 28, 2014 4:40 PM
To:                   Servicio al Cliente Negocio Carnico [Meat Business Customer Service]; Gloria E. Moreno.
Cc:                   wilson Zuluaga; Marta Ponce
Subject:              RE: Alejandra Meneses... complaint about Zenú Products in the USA -ID #XX-XXXXXXX
Attachments:          RE: Zenú product pickup in excellent condition for sale (25.0 KB); RE: Outstanding Debt with lmpex lnternational (431
                      KB); address (3.70 KB); Credit Memo 16019 from LATINFOOD US CORP (66.0 KB); Credit Memo 16016 from
                      LATINFOOD US CORP (68.7 KB)


Good afternoon Meat Business Customer Service, and good afternoon, Wilson,



As I documented over the phone, we’re stunned by this outcome as we try to sell Zenú Products in Miami.

Attached is part of the story we experienced after pre-paying for a Second order of your products amounting to US$ 3,229.80, paid
on July 7, 2014, for the products received on July 11th. We proceeded to do prepaid business with Mr. Wilson Zuluaga based on the
renowned name and the excellent quality of Zenú Products in Colombia and the market work that lmpex International had done in
Miami. Nothing was ever put into writing, but there was the assumption that lmpex International would be one of, if not the exclusive,
direct distributors of Zenú for Miami. For that reason, we worked and successfully sold the first order in its entirety.


I want to note:

   1. To date, no product has expired. The product that’s closest to expiring is the Colombian Chorizo (Sep 2)
   2. I’ve always followed Wilson's instructions step by step
   3. On August 19th, we received a return of 6 boxes of Traditional Salchichon (cured sausage) that we still have in stock because
      they’re considered to be of suitable quality for sale
   4. The total cost of transportation from New York to Miami was US$ 180.00
   5. We have a promise to pay US$ 772.86 for the beer sausages [salchichones cerveceros] and for the products that Wilson
      considers to be of poor quality (Payee Amount Payment Date Reference Number IMPEX $772.86 08/27/2014 010114)
   6. When we received our second order, we immediately tried to sell it and found that all the customers already had the product
      and supposedly at a lower price.



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Approximately on July 25th, Patricia spoke on the phone with Wilson to tell him what was happening and asking him how we were
going to work because, in these new conditions, it was nearly impossible for us to continue in the market. Wilson's answer was very
clear: I’m opening an office in Miami myself, and I’m going to sell Zenú on my own. I’m not going to give the product to anyone to
distribute it, I’ll do it myself.

So, we asked him to take back the product we had in stock, and he said yes, he would let us know where we should deliver the
product. This is when I, Gloria Moreno, started talking with Wilson, and I asked him how he was going to pay us for the product. He
told me over the phone not to worry, that in the place where I’d deliver the product they would pay me at the time of delivery (COD).



Attached are two email threads:

In the email thread Re: Outstanding Debt with lmpex lnternational, you can brief yourself with the story, from when I started to try
and get the address or delivery details of the product, with the intention of getting back the investment and preventing the product
from going bad. Let me also say that I didn’t receive a response to the last email until the 26th, which is when Wilson sent his
solutions.



In the email thread Re: Pickup of Zenú product in excellent condition for sale, you can see that Wilson informs me that he isn’t
responsible for anything that’s happening.



I’m asking for your assistance in getting the money invested returned to Impex International, and I’m willing to provide additional
evidence or answer any questions you may have.



I look forward to having a prompt solution,



Gloria E. Moreno


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From: Servicio al Cliente Negocio Carnico [Meat Business Customer Service] [mailto:servicioalcliente@negociocarnico.com.co]
Sent: Wednesday, August 27, 2014 5:00 PM
To: Gloria E. Moreno
Subject: Re: Alejandra Meneses... complaint about Zenú Products in the USA


Good afternoon



Your email has been received and will be processed as soon as possible.



Have a great afternoon!!!


                       Customer and Consumer Service
                       servicioalcliente@neqociocarnico.com.co
                       Medellín - Colombia



Grupo Empresarial Nutresa




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                                                                                                LATINFOODHD_FRONTEO 40213
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----- "Gloria E. Moreno" <gloria@allgoodservices.org> wrote: -----

To: ''Gloria E. Moreno"'' <gloria@allgoodservices.org>
From: "Gloria E. Moreno" <gloria@allgoodservices.org>
Date: 08/27/2014 15:56
Cc: <servicioalcliente@neqociocarnico.com.co>
Subject: Alejandra Meneses... complaint about Zenú Products in the USA

Good afternoon, Zenú.




Greetings from Gloria E. Moreno of lmpex International.




I look forward to hearing from you.




Gloria E. Moreno

lmpex International # XX-XXXXXXX




                                                                                            Grupo Nutresa S.A.


PRIVACY NOTICE


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[bilingual text]




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